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                                   UNITED STATES BANKRUPTCY COURT
                                        Northern District of California

In Re: Home Loan Center, Inc.                                Case No.: 19−51455 MEH 11
   fdba Lending Tree Loans                                   Chapter: 11
   fdba Freeapprovalfinder.com, Inc.
         Debtor(s)

                       ORDER FOR NON−INDIVIDUAL(S) IN CHAPTER 11 CASE TO
                 FILE REQUIRED DOCUMENTS AND NOTICE OF AUTOMATIC DISMISSAL


The debtor(s) named above failed to file the documents listed below when the case was commenced:

   Declaration Under Penalty of Perjury for Non−Individual Debtors (Official Form 202)
   Summary of Assets and Liabilities for Non−Individuals (Official Form 206SUM)
   Schedule A/B: Real and Personal Property (Official Form 206A/B)
   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
   Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
   Schedule H: Codebtors (Official Form 206H)
   Statement of Financial Affairs for Non−Individuals Filing for Bankruptcy (Official Form 207)
   Corporate Ownership Statement Pursuant to Fed. R. Bankr. P. 1007(a)(1)
   List of Equity Security Holders Pursuant to Fed. R. Bankr. P. 1007(a)(3)
   List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
   (Official Form 204)
   Application for Retention of Counsel for Debtor(s) in Possession

  IT IS HEREBY ORDERED that unless, within 14 days of the petition date, the debtor(s) file each document listed
above, the court may dismiss this case without further notice or a hearing. 11 U.S.C. § 521(a), Fed. R. Bankr. P.
1007(b)(1), (c).

   The debtor(s) may request an extension of time to file the documents noted above, but must do so before 14 days
from the petition date, or the expiration of any extension previously granted. The request may be filed electronically,
mailed, or delivered in person to the address stated below, but it must be received by the court before the 14 days or
any extension previously granted have expired. If an extension is granted and the documents are not filed, the case
may be dismissed.


Clerk, U.S. Bankruptcy Court
280 South First Street
Room 3035
San Jose, CA 95113


Dated: 7/22/19                                     By the Court:


                                                   M. Elaine Hammond
                                                   United States Bankruptcy Judge




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